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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                     TRUSTEE'S SUPPLEMENTAL REPORT

     FOLLOWING CONFIRMATION HEARING HELD ON SEPTEMBER 6, 2018



CASE NO.:    18-60054-PMB

DEBTOR:      DANA M. V. CALHOUN

TRUSTEE TO REPORT BACK IN 10 DAYS

WHETHER DEBTOR’S PLAN PAYMENTS ARE CURRENT AND

WHETHER DEBTOR’S PLAN HAS BEEN SERVED IN ACCORDANCE WITH RULE

7004 AND WHETHER DEBTOR HAS PROVIDED THE 2017 TAX RETURN AND

WHETHER DEBTOR HAS PROVIDED PROOF OF INCOME.

THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND

DEBTOR’S PLAN PAYMENTS REMAIN DELINQUENT.

PLEASE ENTER AN ORDER OF DISMISSAL.


September 24, 2018



                                    _________/s/_______________________
                                    Jason L. Rogers, Attorney for the
                                    Chapter 13 Trustee
                                    GA Bar No. 142575




Melissa J. Davey, Chapter 13 Trustee
Suite 200 – 260 Peachtree Street, N.W.
Atlanta, Georgia 30303
(678) 510-1444
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                         CERTIFICATE OF SERVICE



      This is to certify that I have this day served


DEBTOR:

Dana Michelle Valorie Calhoun
6980 Roswell Road
Unit M6
Atlanta, GA 30328

ATTORNEY FOR DEBTOR:

Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

the above in the foregoing matter with a copy of this pleading by
depositing same in the United States Mail in a properly addressed
envelope with adequate postage thereon.

This __24th_____ day of September, 2018.



________/s/__________________________
Jason L. Rogers, Attorney for the
Chapter 13 Trustee
GA Bar No. 142575




Melissa J. Davey, Chapter 13 Trustee
Suite 200 – 260 Peachtree Street, N.W.
Atlanta, Georgia 30303
(678) 510-1444
